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                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE


  DISPLAY TECHNOLOGIES LLC,                          Civil Action No. 17-cv-1426-RGA

                                                     PATENT CASE
                        Plaintiff,
  v.                                                 JURY TRIAL DEMANDED
  GIBSON INNOVATIONS USA,
  INC.,

                        Defendant.


                     NOTICE OF CLOSED BANKRUPTCY CASE

         Defendant Gibson Innovations USA, Inc. (“Innovations”) hereby files this

  Notice of Closed Bankruptcy, respectfully showing the Court as follows:

         On May 8, 2018, this Court stayed this case and administratively closed the case,

  pending a final determination of Innovations’ Voluntary Petition under Chapter 11 of

  the United States Bankruptcy Code in the United States Bankruptcy Court for the

  District of Delaware, Case No. 18-11025-CSS. [See Order at Doc. No. 25.]

         The Bankruptcy Court has reached a final determination on Innovations’

  Chapter 11 Bankruptcy. Attached as Exhibit “A” is the Final Decree Closing Gibson’s

  Chapter 11 Bankruptcy, resulting in a final determination of Gibson’s Bankruptcy.

         WHEREFORE, Innovations prays that this Court take notice of the Final

  Decree Closing Innovations’ Chapter 11 Bankruptcy and that this action be reopened.

  Within fifteen (15) days of this Court reopening this case, Innovations will file a status

  report with the Court of pending motions and will show why this case should be
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  dismissed because Innovations was dissolved during the bankruptcy and is no longer

  an active company.

  Dated: February 5, 2019

  OF COUNSEL:
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